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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr26
                                     )
CHISTOPHER ALBERTS,                  )
      Defendant.                     )
____________________________________)

                      DEFENDANT’s STATUS REPORT REGARDING
                      AMENDED CONSENT MOTION TO WITHDRAW

       Comes now John C. Kiyonaga, counsel for Defendant Christopher Alberts, and,

regarding Defendant’s earlier Motion to Withdraw (Doc 20) and amendment to same (Doc 21),

reports in compliance with the Court’s Minute Order of July 26 th, as follows:

       Undersigned cannot shed further light at this juncture on Defendant’s wishes as to

whether he seeks replacement counsel by Court appointment or by private engagement. Because

undersigned has experienced significant difficulties in communicating with Defendant (and notes

that Defendant’s geographic location may have contributed to such), undersigned respectfully

requests one more week during which to advise the Court of Defendant’s intentions and submit

an executed financial affidavit or not – as the case may be.

        Counsel for the Government does not object to this request for extension of time.

                                                     Respectfully Submitted,

                                                     _____/s/____________
                                                     John C. Kiyonaga
                                                     600 Cameron Street
                                                     Alexandria, Virginia 22314
                                                     Telephone: (703) 739-0009
                                                     Facsimile: (703) 340-1642
                                                     E-mail: john@johnckiyonagaa.com

                                                     Counsel for the Defendant



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                                 Certificate of Electronic Service

       I hereby certify that on July 30, 2021, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.
                                                       ____/s/_____________
                                                       John C. Kiyonaga




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